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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,                     :

       Plaintiff,                             :       Case No. 3:10cr00210-22

 vs.                                          :       District Judge Walter Herbert Rice
                                                      Chief Magistrate Judge Sharon L. Ovington
DAVID GUTIERREZ-DE LA PENA,                   :

       Defendant.                             :



                        REPORT AND RECOMMENDATIONS1


       This case came on for hearing on February 12, 2013. The United States was

represented by Assistant United States Attorney Andrew Hunt and Defendant was

represented by Attorney Robert F. Krapenc.

       The parties have entered into a plea agreement which has been filed of record. The

undersigned carefully inquired of Defendant regarding his understanding of the agreement

as well as his competence to understand the agreement. Having fully inquired, the

undersigned Judicial Officer finds that Defendant’s tendered plea of guilty to Count 1 of the

Fourth Superseding Indictment is knowing, intelligent, and voluntary. Based on the

statement of facts as set forth in the plea colloquy, the undersigned finds that there is a



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        Attached hereto is NOTICE to the parties regarding objections to this Report and
 Recommendations.
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sufficient factual basis for finding Defendant guilty as to Count 1.

       It is accordingly RECOMMENDED that the Court accept Defendant’s plea of guilty

to Count 1 of the Fourth Superseding Indictment and find Defendant guilty as charged in

such Count of conspiracy to distribute and possess with intent to distribute 1 kilogram or

more of a mixture or substance containing a detectable amount of heroin in violation of Title

21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(A).

       Pending the Court’s acceptance of Defendant’s plea, Defendant has been referred to

the Probation Department for a pre-sentence investigation.



February 15, 2013
                                                          s/Sharon L. Ovington
                                                           Sharon L. Ovington
                                                   Chief United States Magistrate Judge




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                          NOTICE REGARDING OBJECTIONS

       Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written
objections to the proposed findings and recommendations within fourteen days after being
served with this Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period
is extended to seventeen days because this Report is being served by one of the methods of
service listed in Fed. R. Civ. P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the
portions of the Report objected to and shall be accompanied by a memorandum of law in
support of the objections. If the Report and Recommendations are based in whole or in part
upon matters occurring of record at an oral hearing, the objecting party shall promptly
arrange for the transcription of the record, or such portions of it as all parties may agree
upon or the Magistrate Judge deems sufficient, unless the assigned District Judge otherwise
directs. A party may respond to another party’s objections within ten days after being
served with a copy thereof.

       Failure to make objections in accordance with this procedure may forfeit rights on
appeal. See United States v. Walters, 638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S.
140 (1985).




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